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                     UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
__________________________________________
                                           )
FEDERAL TRADE COMMISSION, and              )
                                           )
STATE OF FLORIDA, OFFICE OF THE            )
ATTORNEY GENERAL, DEPARTMENT               )
OF LEGAL AFFAIRS,                          )
                                           ) Case No. 15cv5781
                  Plaintiffs,              ) Judge Feinerman
                                           ) Magistrate Judge Gilbert
            v.                             )
                                           )
LIFEWATCH INC., et al.,                    )
                                           )
                  Defendants.              )
__________________________________________)

                    EXHIBITS SUPPORTING PLAINTIFFS’
                  MOTION FOR PRELIMINARY INJUNCTION

                STATE LAW ENFORCEMENT DECLARATIONS

Declaration of Eliza K. Bradley……………………………….…………..………………PX 5
Deputy Attorney General, Office of the Indiana Attorney General

                 BETTER BUSINESS BUREAU DECLARATIONS

Declaration of Bill Smith…………………………………………………….………...….PX 6
Investigator, Better Business Bureau serving Eastern Missouri and Southern Illinois

Declaration of Susan Cuomo…………………………………………………..………….PX 7
Senior Manager, Information and Investigations, Better Business Bureau of
Metropolitan New York, Long Island, and the Mid-Hudson Region

                        THIRD PARTY DECLARATIONS

Declaration of Rhonda Lees…………………………………….………………….…......PX 8
Vice President, Legal Affairs, American Diabetes Association

Declaration of Lewis Kinard………………………………………………….…….……..PX 9
Senior Attorney, American Heart Association
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Executive Officer, National Institute on Aging

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Associate General Counsel, AARP

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Chief Executive Officer, VRI, Inc.

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Executive Chairman, Connect America.com, LLC

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President and Chief Operating Officer, Robb Evans & Associates LLC


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